                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         Doc. No. 3:07-cv-00438 (3:95-cr-00005)


 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 MARC PIÉRRE HALL ,                                 )
                                                    )
                Defendant.                          )
                                                    )

       THE MATTER is before the Court on Defendant’s “Motion and Supplement [sic] Pleadings

Pursuant 18 U.S.C. § 3582(c)(1)(A); (c)(2) (PSR) Challenges in Leave of Court” (Doc. No. 703),

filed October 9, 2007.

       Under 18 U.S.C. § 3582(c)(2), a court may modify an imposed term of imprisonment where

the defendant has “been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o) ... [and]

after considering the factors set forth in section 3553(a) ... if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” Section 3582(c)(2) is only

applicable to instances where a defendant is sentenced and a provision in the Sentencing Guidelines

is subsequently amended, which, had the amendment occurred prior to the defendant’s sentencing,

would have resulted in a lower term of imprisonment. In such an instance, the court has the

discretion to amend the defendant's term of imprisonment, but only after also considering the factors

listed in § 3553(a) and the policy statements issued by the Sentencing Commission. This is not the

situation now before this Court.




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       Although couched as a motion pursuant to 18 U.S.C. § 3582, Defendant’s arguments make

no mention of any change in the Sentencing Guideline provisions. Defendant contends that as a

result of the Supreme Court case of Jones v. United States, 529 U.S. 848 (2000), the Presentence

Report (“PSR”) contains inaccurate information regarding Defendant’s activities related to interstate

commerce. According to Defendant, the Court relied on these statements in sentencing, and

Defendant is entitled to be resentenced. The Jones case has no bearing on a motion made pursuant

to § 3582. Instead, Defendant’s motion is, in effect, a motion to amend his sentence, which is more

appropriately construed as a petition pursuant to 28 U.S.C. § 2255.

       As noted in an order of this Court on October 1, 2007, (Doc. No. 702), Defendant is well

aware of the appropriate procedure to request a change in his sentence. He has exhausted his

remedies under § 2255 and relief no longer lies with this Court, absent approval from the Fourth

Circuit Court of Appeals. See 28 U.S.C. § 2255 (“[A] second or successive motion must be certified

. . . by a panel of the appropriate court of appeals.”). Defendant has been warned of the need for this

certification numerous times.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion (Doc. No. 703) is

DISMISSED. Accordingly, Defendant’s Motion to Appoint Counsel (Doc. No. 704) is DENIED.

       IT IS SO ORDERED.
                                                   Signed: October 16, 2007




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